              United States Court of Appeals
                             For the First Circuit
No. 25-1311
                             D.V.D.; M.M.; E.F.D.; O.C.G.,

                                  Plaintiffs - Appellees,

                                            v.

U.S. DEPARTMENT OF HOMELAND SECURITY; KRISTI NOEM, Secretary of Department
 of Homeland Security (DHS); PAMELA BONDI, United States Attorney General; ANTONE
           MONIZ, Superintendent of the Plymouth County Correctional Facility,

                                Defendants - Appellants.


                                      MANDATE

                                 Entered: June 30, 2025

       In accordance with the judgment of June 30, 2025, and pursuant to Federal Rule of
Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                          By the Court:

                                          Anastasia Dubrovsky, Clerk


cc:
Matthew H. Adams
Glenda M. Aldana Madrid
Tomas Arango
Abraham R. George
Leila Kang
Mary A. Kenney
Aaron Korthuis
Mary Larakers
Donald Campbell Lockhart
Kristin Macleod-Ball
Elianis N. Perez
Trina A. Realmuto
Mark Sauter
Matthew Patrick Seamon
